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                                10                       UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF CALIFORNIA
                                11
KAZEROUNI LAW GROUP, APC




                                     KELISSA RONQUILLO-                        Case No.: 3:17-cv-00129-JM-BLM
 245 FISCHER AVENUE, U NIT D1




                                12
                                     GRIFFIN, KHOI NGUYEN, and
    COSTA MESA, CA 92626




                                13   RUSSELL SMITH, Individually               MEMORANDUM OF POINTS AND
                                     and On Behalf of All Others               AUTHORITIES IN SUPPORT OF
                                14   Similarly Situated,                       UNOPPOSED MOTION FOR
                                15                Plaintiffs,                  PRELIMINARY APPROVAL OF CLASS
                                                                               ACTION SETTLEMENT AND
                                16                         v.                  CERTIFICATION OF SETTLEMENT
                                                                               CLASS
                                17
                                     TELUS COMMUNICATIONS,
                                18   INC., TRANSUNION RENTAL                   Date: October 22, 2018
                                     SCREENING SOLUTIONS,                      Time: 10:00 a.m.
                                19   INC., AND TRANSACTEL                      Ctrm.: 5D
                                     (BARBADOS), INC.,
                                20                                             Judge: Hon. Jeffrey T. Miller
                                                  Defendants.
                                21
                                                                               Complaint filed: January 24, 2017
                                22                                             SAC filed: November 28, 2017
                                23
                                                                               [Filed currently with Declaration of
                                24                                             Kelissa Ronquillo-Griffin, Declaration of
                                                                               Khoi Nguyen, Declaration of Russell
                                25                                             Smith, Declaration of Abbas
                                                                               Kazerounian, Declaration of Jason A.
                                26
                                                                               Ibey, Declaration of Joshua B. Swigart,
                                27                                             Declaration of Daniel G. Shay,
                                                                               Declaration of Carla Peak]
                                28

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                                 1   I.      INTRODUCTION
                                 2           Plaintiffs Kelissa Ronquillo-Griffin (“Ms. Ronquillo-Griffin”), Khoi
                                 3   Nguyen (“Mr. Nguyen”), and Russell Smith (“Mr. Smith” or collectively
                                 4   “Plaintiffs”) submit this unopposed motion for preliminary approval of a proposed
                                 5   class action settlement of this matter (the “Action”) against defendant TransUnion
                                 6   Rental Screening Solutions, Inc. (“TURSS”) and Transactel Barbados, Inc.
                                 7   (“Transactel” or collectively “Defendants”). The terms of the proposed class
                                 8   action settlement are set forth in the Settlement Agreement and Release
                                 9   (“Agreement” or “Agr.”1), filed as Exhibit A 1 to the Declaration of Abbas
                                10   Kazerounian (“Kazerounian Decl.”), ¶ 46, filed concurrently.
                                11           As detailed below, there are approximately 665 persons in the Settlement
KAZEROUNI LAW GROUP, APC




                                     Class, covering a period between January 24, 2016 through February 8, 2017,
 245 FISCHER AVENUE, U NIT D1




                                12
    COSTA MESA, CA 92626




                                13   whose cellular or cordless telephone conversations with Transactel were allegedly
                                14   audio recorded without their consent. See Agr., Recitals § G; Declaration of Jason
                                15   A. Ibey (“Ibey Decl.”), ¶ 8. Under the Agreement, Defendants shall pay $425,000
                                16   into a non-reversionary Common Fund to settle the Action and obtain a release of
                                17   all Released Claims in favor of Released Parties. Agr. §§ 1(l) & 13. The Common
                                18   Fund will be used to send a settlement check to Authorized Claimants, after
                                19   payment of notice and claims administration expenses, attorneys’ fees and
                                20   litigation costs, and any service award to the Plaintiffs (“Net Settlement
                                21   Amount”). Agr. §§ 1(u) & 2.3-2.6.
                                22           While Plaintiffs are confident of a favorable determination on the merits,
                                23   Plaintiffs and their counsel have determined that the proposed settlement provides
                                24   significant benefits to the Settlement Class Members and is in the best interests of
                                25   the Settlement Class. Kazerounian Decl. ¶ 7. Plaintiffs believe that the settlement
                                26   1
                                       Unless otherwise specified, defined terms used in this memorandum are intended
                                27   to have the meaning ascribed to those terms in the Agreement.
                                     1
                                28       Exhibits are to the Declaration of Abbas Kazerounian unless otherwise stated.
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   is appropriate given the contested issues involved, the risks, uncertainty and costs
                                 2   of further prosecution of this litigation. Id. Defendants have denied the allegations
                                 3   by Plaintiffs, and believe they have meritorious defenses to Plaintiffs’ claims.
                                 4   Agr., Recitals D, & § 15; Dkt. Nos. 52 & 53. However, Defendants agree that it is
                                 5   desirable to settle the Action on the terms in the Agreement. See Exhibit A.
                                 6         Accordingly, Plaintiffs move the Court for an order certifying the class action
                                 7   pursuant to Fed. R. Civ. P. 23(b)(3) for settlement purposes only; preliminarily
                                 8   approving the proposed settlement; appointing Kurtzman Carson Consultants
                                 9   (“KCC”) as the Settlement Administrator; directing dissemination of class notice;
                                10   appointing the three Plaintiffs as the Class Representatives; approving Plaintiffs’
                                11   attorneys as Class Counsel; and scheduling a Final Approval Hearing.
KAZEROUNI LAW GROUP, APC




                                     II.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY
 245 FISCHER AVENUE, U NIT D1




                                12
    COSTA MESA, CA 92626




                                13         Transactel provides contact center outsourcing solutions including call
                                14   center operations for co-defendant TURSS. Second Amended Complaint (“SAC”),
                                15   Dkt. 47, ¶¶ 20-21. In December 2016, the three Plaintiffs, through counsel,
                                16   requested a copy of their credit report from TURSS. See id., ¶ 23.
                                17         On or about December 14, 2016, Plaintiff Ronquillo received a call on her
                                18   cellular telephone, during which she was asked a variety of questions and told to
                                19   forward an identification card to TURSS in order to receive a copy of her credit
                                20   report. SAC, at ¶ 24. After speaking with a representative for several minutes,
                                21   Ronquillo asked if the conversation was being recorded. Id. The representative
                                22   answered in the affirmative even though no warning was given during the course
                                23   of the conversation. Id. On or about December 14, 2016, Transactel contacted
                                24   Plaintiff Smith on his cellular telephone. Id. at ¶ 25. During the conversation, a
                                25   representative told Smith that he needed to send Defendant TransUnion a copy of
                                26   his identification and utility bill. At no point was Smith advised that the
                                27   conversation was being recorded. Id. at ¶ 26. On or about December 15, 2016,
                                28   Transactel twice contacted Plaintiff Nguyen on his cellular telephone. Id. at ¶ 27.
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   The agent stated that Nguyen needed to send in a copy of his driver’s license or
                                 2   passport. Id.; Exhibit B (Transactel’s Response to Nguyen’s Interrogatories Set One,
                                 3   No. 2). Nguyen was not advised the call was being recorded. SAC, at ¶ 29.
                                 4          Unknown to the three named Plaintiffs before the calls, Transactel (hired by
                                 5   TURSS) recorded all of its outgoing telephone calls with California consumers,
                                 6   and recorded the calls to all three named Plaintiffs, without giving a warning or
                                 7   notification at the outset that the conversations would be recorded. Id. at ¶¶ 23-29;
                                 8   Exhibit C (Transactel’s Response to Nguyen’s RFAs Set One, Nos. 8-9); Exhibit D
                                 9   (Transactel’s Response to Smith’s RFAs Set 2, Nos. 18).
                                10          In response to Transactel’s recording practices, Plaintiffs brought the present
                                11   action, on behalf of themselves and all others similarly situated in California,
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                                     alleging violations of California Penal Code § 632.7 (“CIPA”), and common law
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                                13   invasion of privacy – the common-law claims have been dismissed, Dkt. No. 27.
                                14          After litigating this case for over a year, conducting written discovery, and
                                15   depositions of the named Plaintiffs, the Parties participated in a full day mediation
                                16   before Bruce Friedman, Esq. of JAMS, and engaged in arm’s-length negotiations
                                17   in an attempt to resolve this action. Kazerounian Decl., ¶ 6; Ibey Decl., ¶¶ 6-7.
                                18   Based upon the investigation, analysis and discovery, including a confirmatory
                                19   declaration obtained after mediation (Ibey Decl., ¶ 28; Exhibit 1 thereto), the
                                20   Parties have agreed to settle the claims in this action on a California state-wide
                                21   basis under the terms and conditions memorialized in the Agreement.
                                22   III.    THE SETTLEMENT
                                23          A.    The Settlement Class
                                24          The Settlement Class is defined as:
                                25
                                                  All persons in California who, during the period from
                                26                January 24, 2016 through February 8, 2017, were called
                                27
                                                  by Transactel on behalf of TURSS on their cellular
                                                  telephones and spoke with a representative. Excluded
                                28                from the Settlement Class are the Judges to whom the
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1
                                                    Action is assigned and any members of the Judges’ staff
                                                    or immediate family.
                                 2
                                 3   Agr. § 1(y).

                                 4         The Class consists of approximately 665 persons, based on discovery

                                 5   conducted which included the assistance of an outside data analysis vendor, and

                                 6   investigation by Transactel. See Ibey Decl. ¶ 8; Exhibit 1 thereto (confirmatory

                                 7   declaration); Agr., Recitals ¶ G.

                                 8         B.       Settlement Relief

                                 9         Defendants have agreed to pay an all-in, non-reversionary fund of

                                10   $425,000.00 (i.e., the Common Fund) as full and complete consideration for the

                                11   Settlement. Agr. § 2.1. The Common Fund shall also be used to pay: (i) settlement
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                                     checks, (ii) a service award to each Plaintiff, (iii) the Attorneys’ fees and litigation
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                                13   costs, (iv) administrative costs, and (v) taxes due in connection with the Settlement

                                14   prior to distribution to the Class. Id. at § 1(l). The amounts remaining after

                                15   deducting (ii) through (v) above (the “Net Settlement Fund”) shall be used to pay

                                16   valid claims submitted by the Class Members. Id. at § 1(u) & § 2.3.

                                17         Settlement Class Members who submit a valid claim form shall receive a pro

                                18   rata distribution, up to $5,000. Agr. § 2.3. If all 665 estimated Settlement Class

                                19   Members were to submit a claim, their estimated recovery would be approximately

                                20   $406; 2 and if 10% were to submit a claim, their estimated recovery would be

                                21   approximately $4,035. Additionally, in response to the lawsuit, TURSS has

                                22   instructed Transactel to stop audio recording outgoing telephone calls and

                                23   Transactel has ceased recording those calls. Agr. § 2.8.

                                24         If any amounts remain in the Net Settlement Fund after payment of items (i)

                                25   through (v) above for more than sixty (60) calendar days after issuance, the

                                26
                                     2
                                27
                                      $425,000 (Common Fund) – Attorneys’ fees and Litigation costs ($123,250) –
                                     notice and claims administration (estimated to be $22,384) – service awards
                                28   ($9,000) = $270,366. $270,366 / 665 = Approx. $406.56.
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                                 1   Settlement Administrator will provide for a second distribution to only those who
                                 2   cashed their initial check. Agr. § 2.4. The recipients of this second distribution will
                                 3   have 60 days to cash this second check. Id.
                                 4         After this second distribution, the Settlement Administrator shall make a cy
                                 5   pres distribution of unclaimed funds to a nonprofit organization, as agreed on by
                                 6   the Parties and the Court, with a total value that equals the amount remaining in the
                                 7   Net Settlement Fund. Agr. § 2.1. Any unclaimed funds or any funds from
                                 8   unclaimed settlement checks shall be delivered to a cy pres recipient selected by
                                 9   the parties and approved by the Court. Id. at § 10. The Parties propose Media
                                10   Rights as the potential cy pres recipient of any unclaimed funds. Id.
                                11         C.     Class Notice
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                                           Notice to the Settlement Class Members will be provided by direct mail notice.
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                                13   Subject to Court approval, the Parties propose that Kurtzman Carson Consultants
                                14   (“KCC”) act as settlement administrator. Id. at § 1(x). The Settlement
                                15   Administrator’s duties shall include but are not limited to: (i) setting up the
                                16   Settlement Website where Class Members can, among other things, fill out a Claim
                                17   and view this Agreement, (ii) setting up a toll-free number for receiving calls
                                18   related to the Settlement, (iii) implementing Class Notice, (iv) determining valid
                                19   claims, (v) distributing the settlement awards, (vi) maintaining proper records of
                                20   the settlement administration, and (vii) providing information to counsel for
                                21   Defendant and Class Counsel. Id. at §§ 3.1, 6.4, 12.1-12.2.
                                22                1.     Direct Mail Notice
                                23         After the entry of the Court Order granting the Preliminary Approval on or
                                24   before the date directed by the Court, Defendant shall provide a list to the
                                25   Settlement Administrator of all available names and addresses of persons called on
                                26   a cellular phone number with a California area code whose conversations may
                                27   have been recorded by Transactel within the settlement class period. Id. at §§ 1(h);
                                28   4.2. Transactel currently has names and addresses for 439 persons (Ibey Decl. ¶ 8)
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                                 1   prior to a reverse phone number lookup. See Agr. § 4.2
                                 2         Within 60 days after entry of the Preliminary Approval Order, the
                                 3   Settlement Administrator shall mail the direct mail notice (in the form attached to
                                 4   the Agreement as Exhibit B) to the identified Class Members’ last known
                                 5   addresses. Agr. § 4.5. The Settlement Administrator will conduct a reverse look-up
                                 6   and/or skip tracing search of the addresses for the individuals whose addresses are
                                 7   unknown to Defendants. Agr. §§ 1(h), 4.2 and 8.2.
                                 8         In the event that a Class Notice is returned as undeliverable with a
                                 9   forwarding address, the Settlement Administrator shall re-mail the Class Notice to
                                10   the indicated forwarding address provided by the U.S. Postal Service. Id. § 4.6;
                                11   Peak Decl., ¶ 12. If no forwarding address was provided by the U.S. Postal
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                                     Service, or the mailing to the forwarding address is returned as undeliverable,
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                                13   obtain an address from LexisNexis and mail the Class Notice to that updated
                                14   address. Id. § 4.6. If the attempts at notice by mail are unsuccessful, and/or a
                                15   member of the Settlement Class otherwise fails to follow the procedures set forth
                                16   in this Agreement for submitting a claim or requesting exclusion from the
                                17   Settlement Class, and the member of the Settlement Class shall automatically be
                                18   deemed a Settlement Class Member whose rights and claims with respect to the
                                19   issues raised in the Complaint are determined by the Court’s Final Order approving
                                20   the settlement and the Judgment, and by the other rulings in the Action. Id.
                                21         The Settlement Administrator will perform a reverse phone number lookup
                                22   on an estimated 211 phone numbers in order to obtain addresses information. Peak
                                23   Decl., ¶ 9; Agr. §§ 1(h) and 4.2. It is estimated that 80% of the Settlement Class
                                24   Members will receive mail notice. Declaration of Carla Peak (“Peak Decl.”), ¶ 14.
                                25   This direct mail notice plan satisfies Due Process for this California-only
                                26   settlement. See Manuel v. Wells Fargo Bank, N.A. (E.D.Va. Mar. 15, 2016, No.
                                27   3:14-cv-238 (DJN), 2016 U.S. Dist. LEXIS 33708, at *13 (E.D. Va. Mar. 15,
                                28   2016) (approving notice by direct mail and email, notice on the settlement website,
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                                 1   and a toll-free phone number for inquiries); Romero v. Producers Dairy Foods,
                                 2   Inc., 235 F.R.D. 474, 492-493 (E.D. Cal. 2006) (“First class mail is ordinarily
                                 3   sufficient to notify class members who have been identified”).3
                                 4                2.    Settlement Website and Toll-Free Number
                                 5         Within sixty (60) days of the entry of the Preliminary Approval Order, the
                                 6   Settlement Administrator shall ensure that the Settlement Website is active and able
                                 7   to accept online claims, and that a toll-free number is available for receiving calls
                                 8   related to the Settlement. Id. at §§ 3.1 & 8.2. The Settlement Website will contain,
                                 9   among other things, the Long-Form Notice, the Agreement, the Second Amended
                                10   Complaint, a Claim Form that can be downloaded, the ability to make a claim
                                11   online, and any additional relevant documents as later determined.
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                                                  3.    CAFA Notice
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                                13         Defendants shall be responsible for timely serving the Class Action Fairness
                                14   Act (“CAFA”) notice required by 28 U.S.C. § 1715. Agr. § 14.
                                15         D.     SETTLEMENT CLAIMS PROCESS
                                16         To make a claim for monetary compensation, Settlement Class Members
                                17   must submit a valid Claim. Id. at §§ 1(c), 6.1, 9.2. To file a valid Claim, a Class
                                18   Member must: (i) complete a Claim Form by providing all of the requisite
                                19   information (including the telephone number which was used to communicate with
                                20   Defendants); (ii) affirm Class Members entitlement to a claim and the legality of
                                21   the signature; (iii) either submit the Claim Form online through the Settlement
                                22   Website or mail the Claim Form to the Settlement Administrator no later than one
                                23   hundred and thirty (130) days after the Order granting preliminary approval
                                24   (“Claims Deadline”). [Id. at §§ 1(c), 6.1, 8.2; Exhibit A to the Settlement
                                25   Agreement]. Only Class Members who submit Valid Claims shall be entitled to an
                                26   3
                                       Rule 23(c)(2) provides that “individual notice must be sent to all class members
                                27   whose names and addresses may be ascertained through reasonable effort.” Eisen
                                28   v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974).
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   Individual Settlement Amount. Id. at § 2.4. The Settlement Administrator shall be
                                 2   responsible for determining the validity of all Claims. Id. at 6.4.
                                 3         E.      OPPORTUNITY TO OPT OUT AND OBJECT
                                 4         Settlement Class Members will have the right to opt out of the Settlement (id.
                                 5   at § 7.1) or to object to its terms (id. at § 9.1). The deadline for doing both is 130
                                 6   days after entry of the Preliminary Approval Order. Id. at §§ 7.1, 9.1, 8.2.
                                 7         Settlement Class Members who wish to opt out of the Settlement may do so by
                                 8   mailing a letter by U.S. mail, personally signed, and stating unequivocally that
                                 9   he/she wishes to be excluded from this class action settlement. Id. at § 7.1. Such
                                10   request must be made in accordance with the terms in the Class Notice. Id. Class
                                11   Members will be requested but not required to provide a reason for the request. Id.
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                                           Further, any Settlement Class Member, who is not seeking to opt out, may
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                                13   object to the Settlement by mailing his or her objections to the Settlement
                                14   Administrator. Agr. at § 9.1. The written objection must include: (a) in substantial
                                15   form the caption Ronquillo v. TransUnion Rental Screening Solutions et al.; (b) the
                                16   Class Member’s full name, address, and telephone number; (c) a signed statement
                                17   under the penalty of perjury that he or she believes himself or herself to be a Class
                                18   Member; (d) statement of each objection; and (e) if represented by counsel, a
                                19   written brief detailing the specific reasons, if any, for each objection, including any
                                20   legal and factual support the objector wishes to bring to the Court’s attention and
                                21   any evidence the objector wishes to introduce in support of the objections. Id.
                                22   Class Counsel shall file and serve a written response to any objection filed and
                                23   served by any Class Member. Id.; § 8.2. If objection is overruled, the objecting
                                24   Settlement Class Member will be bound by the Judgment. Agr. § 9.1.
                                25         F.     SCOPE OF RELEASE
                                26         In exchange for the relief described above, all Settlement Class Members,
                                27   other than those who exclude themselves from the Settlement, relinquish all class
                                28   claims against the Released Parties and arising out of this action, or are related to the
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                                 1   claims asserted in the Action, including any and all claims relating to the
                                 2   intercepting,    monitoring   and/or    recording    of   telephone    calls   or   other
                                 3   communications, and any and all claims for violation of the California Invasion of
                                 4   Privacy Act (including without limitation Cal. Penal Code §§ 630, 631, 632, and
                                 5   632.7), and any and all claims for statutory damages under Cal. Penal Code § 637.2
                                 6   or similar statutes that prohibit or restrict the intercepting, recording or monitoring of
                                 7   telephone calls or other communications. Id. at § 13.1. Class Members also waive
                                 8   the provisions of Section 1542 of the Cal. Civil Code. Agr. § 13.3.
                                 9
                                            G.    TERMINATION OF SETTLEMENT

                                10
                                           The Agreement will be terminable in the event of various occurrences,

                                11
                                     including but not limited to receipt of more 25 request for exclusion. Agr. at § 7.2.
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                                           H.        PAYMENT OF NOTICE AND ADMINISTRATIVE COSTS
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                                13
                                           The Agreement provides that all costs of the Notice Program and Claims

                                14
                                     Program, which are estimated to be $22,384 (Peak Deck., ¶ 14), to be paid out of

                                15
                                     the Common Fund. Id. at § 3.2. This is based on an estimated 7% claims rate.

                                16
                                           I.        CLASS REPRESENTATIVES’ APPLICATION FOR SERVICE AWARD

                                17
                                           The Agreement contemplates that Class Counsel will request a service award

                                18
                                     not to exceed $3,000 for each of the three named Plaintiffs. Id. at § 2.5.
                                            J.    CLASS COUNSEL’S APPLICATION OF ATTORNEYS’ FEES AND COSTS
                                19
                                           The Agreement contemplates that Class Counsel shall be entitled to apply to
                                20
                                     the Court for an award of attorneys’ fees and litigation costs to be paid from the
                                21
                                     Common Fund. Id. at § 2.6(a). Plaintiffs’ counsel will not request more than 29% of
                                22
                                     the Common Fund as attorneys’ fees and costs combined. Id.
                                23
                                     IV.   THE COURT SHOULD CERTIFY THE PROPOSED SETTLEMENT
                                24         CLASS FOR PURPOSES OF IMPLEMENTING THE SETTLEMENT
                                25          “Parties may settle a class action before class certification and stipulate that
                                26   a defined class be conditionally certified for settlement purposes.” In re Wireless
                                27   Facilities, Inc. Sec. Litig. II, 253 F.R.D. 607, 610 (S.D. Cal. 2008); see, e.g.,
                                28   Molski v. Gleich, 318 F.3d 937 (9th Cir. 2003). Like any other class certification
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   decision, certification of a class for settlement purposes requires a determination
                                 2   that the requirements of Rule 23(a) and at least of the subsections of Rule 23(b) are
                                 3   met. Id. Fed. Judicial Ctr., Manual for Complex Litigation (“Manual”), § 21.633.
                                 4   The action here meets the requirements of Rule 23(a) and Rule 23(b)(3).
                                 5         A.     Numerosity
                                 6         Class certification under Rule 23(a)(1) is appropriate where a class is so
                                 7   “numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23; see
                                 8   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. Cal. 1998).
                                 9   “Impracticability does not mean ‘impossibility,’ but only the difficulty or
                                10   inconvenience of joining all members of the class.’” Harris v. Palm Springs
                                11   Alpine Estates, Inc., 329 F.2d 909, 913-14 (9th Cir. 1964) (citation omitted). Here,
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                                     numerousity is satisfied. Based upon Transactel’s records, the Parties agree that
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                                13   there are approximately 665 Settlement Class Members. Ibey Decl. ¶ 8; Exhibit 1 to
                                14   Ibey Decl., Exhibit E (Transactel’s Response to Ronquillo-Griffin’s Requests for
                                15   Production Set One, No. 10); Exhibit C (Transactel’s Response to Nguyen’s
                                16   Requests for Admission Set One, No. 20). Thus, the potential members of the Class
                                17   are so numerous that joinder of all the members of the Class is impracticable.
                                18         B.     Commonality
                                19         A class has sufficient commonality “if there are questions of fact and law
                                20   which are common to the class.” Fed. R. Civ. P. 23(a)(2); see also Hanlon, 150
                                21   F.3d at 1019. (“The existence of shared legal issues with divergent legal factual
                                22   predicates is sufficient, as is a common core of salient facts coupled with disparate
                                23   legal remedies within the class.”); Amchem Products, Inc. v. Windsor, 521 U.S.
                                24   591, 623 (1997). “Commonality requires the plaintiff to demonstrate that the class
                                25   members have suffered the same injury.” Wal-Mart Stores, Inc. v. Dukes, 131 S.
                                26   Ct. 2541, 2551 (2011). This means that the class members’ claims “must depend
                                27   on a common contention . . . of such a nature that it is capable of classwide
                                28   resolution – which means that determination of its truth or falsity will resolve an
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   issue that is central to the validity of each one of the claims in one stroke.” Id. This
                                 2   requirement is also satisfied here.
                                 3         There are questions of law and fact common to Plaintiffs and to the Class that
                                 4   predominate over any questions affecting only individual members of the Class.
                                 5   These common questions of law and fact include: (i) whether Defendants unlawfully
                                 6   audio-recorded the putative class members on their cellular telephones; (ii)
                                 7   assigned to a California area code; and (ii) whether Defendants failed to provide a
                                 8   call recording disclosure at the outset of the calls. Under these circumstances, the
                                 9   commonality requirement is satisfied for purposes of certifying a settlement class.
                                10   See Ades v. Omni Hotels Mgmt. Corp., No. 2:13-cv-02468, 2014 U.S. Dist. LEXIS
                                11   129689, *35 (C.D. Cal. Sep. 8, 2014) (finding commonality present and stating,
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                                     “there is no indication that individual consent issues will overwhelm issues
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                                13   plaintiffs have shown to be resolvable through class-wide proof.”).
                                14         C.     Typicality
                                15         Courts consistently find that the typicality prerequisite is met if the claims
                                16   arise from a common course of conduct, though “they need not be substantially
                                17   identical.” Hanlon, 150 F.3d at 1020; see also Parsons v. Ryan, 754 F.3d 657, 685
                                18   (9th Cir. 2014); see also Cal. Rural Legal Assistance, Inc. v. Legal Servs. Corp.
                                19   917 F2d 1171, 1175 (9th Cir. 1990) (citation omitted), amended 937 F.2d 465 (9th
                                20   Cir. 1991) (holding that typicality is shown where claims “share common issue of
                                21   law or fact . . . and are ‘sufficiently parallel to insure a vigorous and full
                                22   presentation of all claims for relief.’”).
                                23         In this case, the three named Plaintiffs’ claims are typical of the claims of the
                                24   Settlement Class Members, as they arise from a nearly identical factual basis.
                                25   Plaintiffs, like members of the proposed Class, received a telephone call on their
                                26   cellular telephone numbers from Transactel on behalf of TURSS. Exhibit B
                                27   (Transactel’s Response to Plaintiff Khoi Nguyen’s Interrogatories Set One, No. 2);
                                28   Exhibit F (Transactel’s Response to Nguyen’s RFAs Set Two, No. 23); SAC, ¶¶ 21-
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   31. During the calls, Transactel audio recorded the telephonic conversations without
                                 2   providing any disclosure of the recording. Exhibit G (Transactel’s Response to
                                 3   Smith’s RFAs Set One, Nos. 1-11); Exhibit H (Transactel’s Response to Ronquillo-
                                 4   Griffin’s Requests for Admissions Set One, Nos. 5, 10-12). Thus, Plaintiffs are
                                 5   advancing the same claims and legal theories on behalf of themselves and all absent
                                 6   Settlement Class Members. Plaintiffs’ claims are therefore typical of the claims of the
                                 7   Settlement Class. See Ades, 2014 U.S. Dist. LEXIS 129689 at *26.
                                 8         D.     Adequacy of Representation
                                 9          Adequacy of representation is met when “the representative parties will
                                10   fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). In
                                11   order to adequately protect the interest of the class the named plaintiffs and their
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                                     counsel must: (1) not have any conflicts of interest with other class members and
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                                13   (2) prosecute the action vigorously on behalf of the class. Id.; see also In re
                                14   Wireless Facilities, 253 F.R.D. at 611 (quoting Staton v. Boeing Co., 327 F.3d 938,
                                15   958 (9th Cir. 2003)). Here, the three named Plaintiffs and counsel do not have any
                                16   known conflicts of interest with other Settlement Class Members. Kazerounian
                                17   Decl., ¶ 10; Ibey Decl., ¶ 12; Declaration of Joshua B. Swigart (“Swigart Decl.”), ¶
                                18   9; Declaration of Daniel G. Shay (“Shay Decl.”), ¶ 10; Declaration of Kelissa
                                19   Ronquillo-Griffin (“Ronquillo Decl.”), ¶ 12; Declaration of Khoi Nguyen (“Nguyen
                                20   Decl.”), ¶ 12; Declaration of Russell Smith (“Smith Decl.”), ¶ 12.
                                21         Further, Plaintiffs and their counsel have been vigorously litigating this
                                22   matter since its inception, overcoming, in part, the motion to dismiss in terms of
                                23   the CIPA claims. Dkt. No. 27. Each named Plaintiff appeared and testified at their
                                24   deposition, and responded to discovery responses propounded by Defendant
                                25   Transactel. See Ibey Decl., ¶ 7. Lastly, Class Counsel are experienced in
                                26   prosecuting consumer actions, including consumer class actions. Kazerounian Decl.,
                                27   ¶¶ 11-45; Swigart Decl., ¶¶ 11-17; Ibey Decl, ¶¶ 15-26; Shay Decl., ¶¶ 11-15.
                                28   Plaintiffs and their counsel will adequately represent the interest of the Settlement
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   Class.
                                 2            E.    Common Questions Sufficiently Predominate
                                 3            Class certification under Rule 23(b)(3) is appropriate where “questions of
                                 4   law or fact common to class members predominate over any questions affecting
                                 5   only individual members.” Fed. R. Civ. P. 23(b)(3). The inquiry focuses on
                                 6   whether the class is “sufficiently cohesive to warrant adjudication by
                                 7   representation.” Local Joint Exec. Bd. of Culinary/Bartender Trust Fund v. Las
                                 8   Vegas Sands, Inc., 244 F.3d 1152, 1162 (9th Cir. 2001). Central to this question is
                                 9   “the notion that the adjudication of common issues will help achieve judicial
                                10   economy.” Zincser v. Accufix Research Institute, Inc., 253 F.3d 1188, 1189 (9th
                                11   Cir. 2001) (citation omitted), amended, 273 F. 3d 1266 (9th Cir. 2001).
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                                              Here, the central inquiry is whether Transactel, hired by TURSS, advised of
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                                13   call recording on its calls to cell phone numbers of persons with a California area
                                14   code. “When common questions present a significant aspect of the case and they
                                15   can be resolved for all members of the class in a single adjudication, there is clear
                                16   justification for handling the dispute on a representative rather than on an
                                17   individual basis.” Hanlon, 150 F.3d at 1022. See Reyes v. Educ. Credit Mgmt.
                                18   Corp., 322 F.R.D. 552, 560 (S.D. Cal. 2017) (Common questions: “whether
                                19   ECMC's recording practice violated CIPA, whether ECMC's pre-recorded message
                                20   was transmitted to potential class members, whether the message and/or other
                                21   disclosures were sufficient to establish awareness of recording for all subsequent
                                22   calls, and whether a caller's hold time can serve as a proxy for notice and
                                23   consent—predominate in this case.”). Therefore, the court should certify the class
                                24   for settlement purposes because common questions predominate.
                                25            F.    Superiority of Class Action
                                26            Resolution of the dispute under the class action mechanism of redress for
                                27   settlement purposes makes sense because it is superior to all other available means
                                28   for the fair and efficient adjudication of this controversy involving persons called in
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                                 1   California. See Culinary/Bartenders Trust Fund, 244 F.3d at 1163 (find that “if a
                                 2   comparable evaluation of other procedures reveals no other realistic possibilities,
                                 3   [the] superiority portion of Rule 23(b)(3) has been satisfied.”); see also Valentino
                                 4   v. Carter-Wallace, 97 F.3d 1227, 1235-36 (9th Cir. 1996) (“a class action is a
                                 5   superior method for managing litigation if no realistic alternative exists”). As
                                 6   explained in Hanlon, 150 F.3d at 1023, the Ninth Circuit held that superiority
                                 7   prong was met because “[f]rom either a judicial or litigant viewpoint, there is no
                                 8   advantage in individual members controlling the prosecution of separate actions.”
                                 9   Id. In fact, pursuing individual settlements would provide “less litigation or
                                10   settlement leverage, significantly reduce[] resources [providing] no greater
                                11   prospect for recovery.” Id.
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                                           In the present case, individualized litigation would create the danger of
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                                13   inconsistent or contradictory judgments arising from the same set of facts regarding
                                14   the calling practices of Transactel, and vicarious liability of TURSS for the conduct
                                15   of Transactel. Individualized litigation would also cause significant delay and
                                16   expense to the parties and overwhelming waste of already limited judicial resources
                                17   by the actions brought by hundreds of individual consumers. Furthermore, the
                                18   damages or other financial detriment suffered by individual Settlement Class
                                19   Members may be relatively small compared to the burden and expense that would be
                                20   entailed by individual litigation. Resolution of the dispute under the class action
                                21   mechanism of redress here is superior to hundreds of individual actions for statutory
                                22   damages where there is no provision of recovery of attorneys’ fees in the statute.
                                23         By contrast, the class action device presents far fewer management difficulties,
                                24   and provides the benefits of single adjudication, economy of scale, and
                                25   comprehensive supervision by a single court, resolving the claims against both
                                26   named Defendants, and providing vindication to the class members who were not
                                27   aware of having claims against Defendants for call recording without a call recording
                                28   advisement. A class action here is therefore superior for settlement purposes.
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                                 1         G.     Standard For Preliminary Approval of Class Action Settlement
                                 2         A class action may not be dismissed, compromised or settled without the
                                 3   approval of the Court. Fed. R. Civ. Proc. 23(e). To preliminary approve a class
                                 4   action settlement, the Court must simply determine whether the class settlement is
                                 5   within the “range of reasonableness,” and hence whether disseminating notice to
                                 6   the class and scheduling a formal fairness hearing are merited. See 4 Herbert B.
                                 7   Newberg, Newberg on Class Actions § 11.25 et seq., and § 13.64 (4th ed. 2002 and
                                 8   Supp. 2004). The Court is not required to make an in-depth and final determination
                                 9   that a settlement is fair, reasonable, and adequate; instead, the “judge must make a
                                10   preliminary determination on the fairness, reasonableness, and adequacy of the
                                11   settlement terms.” Manual for Complex Litigation (Fourth) (Fed. Judicial Center
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                                     2004) (“Manual”) § 21.632.
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                                13                1. Public Policy Favors Settlement
                                14         There is an overriding public interest in settling class action lawsuits, and a
                                15   strong judicial policy favoring such settlements. Franklin v. Kaypro Corp., 884
                                16   F.2d 1222, 1229 (9th Cir. 1989) (citing Van Bronkhorst v. Safeco Corp. 529 F.2d
                                17   943, 950 (9th Cir. 1976)); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276
                                18   (9th Cir. 1992). The law favors settlement, particularly in class actions and other
                                19   complex cases where substantial resources can be conserved by avoiding the time,
                                20   expenses, and rigors of prolonged litigation. Van Bronkhorst, 529 F.2d at 950.
                                21   Accordingly, courts should exercise their discretion to approve settlements “in
                                22   recognition of the policy encouraging settlement of disputed claims.”          In re
                                23   Prudential Sec. Inc. Ltd. Partnerships Litig., 163 F.R.D. 200, 209 (S.D.N.Y. 1995).
                                24                2. Conclusion of Fact and Law Are Not Necessary at This Stage
                                25         At the preliminary approval stage, the Court need not reach any ultimate
                                26   conclusions on the issues of fact and law, which underlie the merits of the dispute,
                                27   West Va. v. Chas. Pfizer & Co., 440 F.2d 1079, 1086 (2d Cir. 1971), and need not
                                28   engage in a trial on the merits, Officers for Justice v. Civil Serv. Comm’n of the
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   City and City of San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). Preliminary
                                 2   approval is merely a prerequisite to giving notice so that “the proposed settlement
                                 3   ... may be submitted to members of the prospective class for their acceptance or
                                 4   rejection.” Philadelphia Hous. Auth. v. Am. Radiator & Standard Sanitary Corp.,
                                 5   323 F. Supp. 364, 372 (E.D. Pa. 1970).
                                 6                3. Counsels’ Judgment Should Hold Considerable Weight
                                 7         Although the decision to approve or reject a proposed settlement “is
                                 8   committed to the sound discretion of the trial judge” (see Hanlon, 150 F.3d at
                                 9   1026), the opinion of experienced counsel supporting the settlement is entitled to
                                10   hold considerable weight (see, e.g., Kirkorian v. Borelli, 695 F. Supp. 446 (N.D.
                                11   Cal. 1988) (opinion of experienced counsel carries significant weight in the court’s
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                                     determination of the reasonableness of the settlement); Boyd v. Bechtel Corp., 485
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                                13   F. Supp. 610, 622 (N.D. Cal. 1979) (recommendations of plaintiffs’ counsel should
                                14   be given a presumption of reasonableness). Plaintiffs’ counsel believe that the
                                15   settlement is a fair compromise that avoid the risks of further litigation and trial,
                                16   while providing a significant monetary recovery to the Settlement Class as well as
                                17   bringing about changed business practices of TURSS. Kazerounian Decl., ¶¶ 7, 9;
                                18   Swigart Decl., ¶¶ 8, 10; Ibey Decl., ¶ 11; Shay Decl., ¶ 8.
                                19                4.    The Court Should Preliminarily Approve the Settlement
                                20                      i.     The Agreement is entitled to a presumption of fairness
                                21      A presumption of fairness exists where: (1) the settlement is reached through
                                22   arm's-length bargaining; (2) investigation and discovery are sufficient to allow
                                23   counsel and the court to act intelligently; (3) counsel is experienced in similar
                                24   litigation; and (4) the percentage of objectors is small. Newberg & Conte, Newberg
                                25   on Class Actions supra, § 11.41; see also Dunk v. Ford Motor Co. 48 Cal.App.4th
                                26   1794, 1802 (1996). The proposed settlement here satisfies the above three
                                27   requirements, and the number of expected objections is small, if any.
                                28      A presumption of fairness exists where a settlement is reached through arms-
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                                 1   length bargaining. See In re Wireless Facilities, Inc. Sec. Litig. II, 253 F.R.D. 607,
                                 2   610 (S.D. Cal. 2008); see also National Rural Telecommunications Cooperative v.
                                 3   DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004); In re Chicken Antitrust
                                 4   Litig., 560 F. Supp. 957, 962 (N.D. Cal. 1980); Newberg on Class Actions § 11.51.
                                 5   This Settlement was reached after the parties (i) investigated and researched their
                                 6   respective claims and defenses, (ii) engaged through an extensive discovery process,
                                 7   (iii) exchanged relevant documents during discovery, which, among other things,
                                 8   determined the putative class and appropriate notice, (iv) participated in arm’s length
                                 9   negotiations, in the form of a full-day mediation with one of the most respected and
                                10   experienced mediators in California, Bruce Friedman, Esq., and, (v) continued
                                11   discussions, including a confirmatory declaration of Transactel, in an attempt to
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                                     finalize the settlement, including determining the approximate class size and the
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                                13   appropriate notice. The Settlement of this Action is the result of non-collusive, arms-
                                14   length and informed negotiations. Agr. § 23.1; Kazeronian Decl., ¶ 6.
                                15
                                                         ii.   The Settlement should be preliminarily approved, as it
                                16
                                                               is within the range of reasonableness based on the
                                17                             relevant factors
                                18         In making the fairness determination for final approval purposes (i.e., not
                                19   preliminary approval, like here), courts consider a number of factors, including the
                                20   strength of the plaintiffs’ case; the risk, expense, complexity, and likely duration of
                                21   further litigation; the risk of maintaining a class action status throughout the trial;
                                22   the amount offered in settlement; the extent of discovery completed and the stage
                                23   of the proceedings; the experience and views of counsel; ... and the reaction of the
                                24   class members to the proposed settlement. In re Mego Fin. Corp. Sec. Litig., 213
                                25   F.3d 454, 458 (9th Cir. 2000) (quoting Hanlon, 150 F.3d at 1026). However, “[n]ot
                                26   all factors will apply … [and], [u]under certain circumstances, one factor alone
                                27   may prove determinative in finding sufficient grounds for court approval.” Nat'l
                                28   Rural Telcoms. Coop. v. Directv, Inc., 2003 U.S. Dist. LEXIS 25375, at *6
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                                 1   (C.D.Cal. Jan. 5, 2003); see, e.g., Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370,
                                 2   1376 (9th Cir. 1993). While the Court need not and should not at this stage
                                 3   determine whether the proposed settlement is fair and adequate for purposes of
                                 4   final approval, there is ample evidence that it falls well “within the range” of
                                 5   fairness and adequacy for preliminary approval.
                                 6                       iii.   The strength of Plaintiffs’ CIPA case
                                 7         Liability is highly contested. After investigating Plaintiffs’ claims and
                                 8   discussing said claims with Defendants, Plaintiffs’ counsel believe this is a strong
                                 9   case, which would prevail at trial but the outcome of the case is by no means certain
                                10   absent a settlement. Kazerounian Decl., ¶¶ 5, 7. It is the opinion of Plaintiffs’ counsel
                                11   that the settlement of $425,000.00 is in part due to the strength of Plaintiffs’ claims.
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                                     Id. at ¶ 7. On the other hand, Defendants deny all of Plaintiffs’ allegations, and
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                                13   maintains that its policies and procedures were and are in compliance with all
                                14   applicable laws. Agr. Recital D; § 15. Defendants believe that they have
                                15   meritorious defenses to all of the claims asserted in the Action. Id. This settlement
                                16   avoids risks and continued expense to both sides in continuing the Action.
                                17                       iv.    The risk, expense, complexity, and likely duration of
                                                                further litigation, including the risks of obtaining and
                                18
                                                                maintaining class action status
                                19         An important consideration is “the strength of the plaintiffs’ case on the merits
                                20   balanced against the amount offered in the settlement.” Nat’ Rural Telecoms Corp. v.
                                21   DirectTV, Inc. 221 F.R.D. 523, 526 (C.D. Cal. 2004) (citation omitted). However, “a
                                22   proposed settlement is not to be judged against a speculative measure of what might
                                23   have been awarded in a judgment in favor of the class.” Id.; Officers for Justice, 688
                                24   F.2d at 625 (“Neither the trial court nor [the appellate court] is to reach any ultimate
                                25   conclusions on the contested issues of fact and law which underlie merits of the
                                26   dispute, for it is the very uncertainty of outcome in litigation and avoidance of
                                27   wasteful and expensive litigation that induce consensual settlements.”). Also
                                28   considered “is the risk of continued litigation balanced against the certainty and
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                                 1   immediacy of recovery from the settlement.” Vasquez v. Coast Valley Roofing, Inc.,
                                 2   266 F.R.D. 482, 489 (E.D. Cal. 2010).
                                 3         Given the parties’ legal and factual positions and litigation for over a year,
                                 4   continued litigation would be protracted, unduly burdensome, and expensive. Most
                                 5   importantly, if the Action were to continue, Defendants would undoubtedly continue
                                 6   to vigorously defend the action. See Agr. § 15; Recital D. Prior to settlement,
                                 7   Defendants intended to challenge each Plaintiff’s credibility and adequacy of serving
                                 8   as Class Representatives. Exhibit D (Transactel Response to Smith’s RFAs Set Two,
                                 9   Nos. 21-23). Similarly, Defendant TURSS also contends, and would likely challenge,
                                10   that Transactel is an independent contractor, and thus TURSS is not vicariously liable
                                11   for Transactel’s conduct. Id. (Transactel’s Response to Smith’s Requests for
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                                     Admissions Set Two, No. 20.) This would be a highly contested issue, as Plaintiffs
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                                13   know that TURSS had authorized Transactel to place the calls. Exhibit F
                                14   (Transactel’s Response to Nguyen’s RAFs Set Two, No. 23.)
                                15         If litigation were to continue, Plaintiffs would take the Rule 30(b)(6)
                                16   deposition of both Defendants, and would have obtained additional written discovery
                                17   responses from TURSS which Plaintiffs believe would have provided additional
                                18   evidence to support a finding of vicarious liability. Additionally, Defendants would
                                19   have likely argued against class certification on the basis that some of the persons
                                20   called may not have been in California at the time of the calls, even though they had
                                21   a California area code, and would thus not have standing to bring a claim for
                                22   violation of this California statute. But settlement avoid these risks to both sides.
                                23         Moreover, to fully prosecute this case through trial, the Parties would need to:
                                24   (1) continue litigating their discovery disputes; and, (2) undertake the arduous task of
                                25   certifying or opposing a class action, which could significantly impact both Parties
                                26   (i.e., the class may not be certified thereby eliminating any class relief, or the class
                                27   may be certified thereby significantly increasing Defendants’ liability). Lastly, any
                                28   decision on the merits is likely to be appealed, resulting in further delays,
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                                 1   uncertainties, and great expense.
                                 2         In considering the Settlement, Plaintiffs, Class Counsel and Defendants
                                 3   carefully balanced the risks of continuing to engage in protracted and contentious
                                 4   litigation against the benefits to the Class, including the significant settlement and
                                 5   payout laid out by the Agreement. The Agreement avoids these risks for both sides.
                                 6                       v.    The benefits conferred by Settlement
                                 7         The benefits conferred by the Settlement for the Class are substantial and
                                 8   clearly outweigh the potential benefits and risks of proceeding with the class action.
                                 9   They include both a monetary payment and the Action has resulted in changes
                                10   business practices. Courts have stated that the fact that a proposed settlement may
                                11   only amount to a fraction of the potential recovery does not, in and of itself, mean
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                                     that the proposed settlement is grossly inadequate and should be disapproved.”
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                                13   Linney v. Cellular Alaska P'ship, 151 F.3d 1234, 1242 (9th Cir. 1998).
                                14         Here, each Settlement Class Members will receive a pro rata share of the Net
                                15   Settlement Amount, up to $5,000, which is their maximum recovery under the statute
                                16   (Cal. Pen. Code § 637.2). Agr. §§ 2.3-2.4. In Plaintiffs’ counsel’s experience in
                                17   settling claims of this type that a claims rate above 10% is unlikely. See Forcellati
                                18   v. Hyland’s Inc., No. 12-cv-1983, 2014 U.S. Dist. LEXIS 50600, *17 (C.D. Cal.
                                19   Apr. 9, 2014) (“[T]he prevailing rule of thumb with respect to consumer class
                                20   actions is [a claims rate of] 3-5 percent.”); Mount v. Wells Fargo Bank, N.A.,
                                21   BC395959 (Cal. Super. Ct. Aug. 13, 2014) granting final approval of a CIPA class
                                22   action settlement with a 4.2% claiming rate) [Exhibit I to Kazerounian Decl.]. The
                                23   estimated claims rate here is likely to be greater than 5% on account of Transactel
                                24   having information for 68% of the Settlement Class. Ibey Decl., at ¶ 8 (names and
                                25   addressed for 439 persons; and names or partial name but no address for 15 persons);
                                26   Exhibit 1 to Ibey Decl.
                                27         The estimated payout here of at least several hundred dollars and up to
                                28   $5,000 is an excellent result for the Settlement Class Members, as (1) the value
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                                 1   offered is a compromise of the maximum statutory damages each class member
                                 2   could receive in this matter, which would otherwise be highly contested and require
                                 3   vigorous litigation efforts, and (2) the value offered is substantially better when
                                 4   compared to other similarly approved settlements, some of which only offer a
                                 5   recovery varying from $1.58 to $64.47. 4 Thus, the Settlement provides for a
                                 6   significant monetary payment that is much higher than many other settlements under
                                 7   CIPA, without the risks and inherent delays of an adverse jury verdict, trial decision,
                                 8   or potential appeal.
                                 9                          vi.   The extent of discovery completed and the state of the
                                                                  proceedings
                                10
                                11         “A settlement following sufficient discovery and genuine arms-length
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                                     negotiation is presumed fair.” Natl’ rural Telecoms Corp. v. DirectTV, Inc. 221
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                                13   F.R.D. 523, 528 (C.D. Cal. 2004) (citation omitted). “Absent evidence of fraud or
                                14   collusion, courts also should accord ‘great weight’ to the recommendations of
                                15   counsel.” Medeiros v. HSBC Card Servs., No. CV 15-09093 JVS (AFMx)) 2017 U.S.
                                16   Dist. LEXIS 178484, at *16. (C.D. Cal. Oct. 23, 2017) (citing Nat’l Rural
                                17   Telecomms., 221 F.R.D. at 528).
                                18         The parties diligently litigated this action for over a year. On January 24,
                                19   4
                                      See Nader v. Capital One Bank, N.A., No 12-cv-01265 DSF, 2014 WL 1258442,
                                20   Dkt. 145 (C.D. Cal. Nov. 17, 2014) ($3 million settlement for approximately
                                     1,896,044 potential class members, or $1.58 per person); Cohorst v. BRE
                                21
                                     Properties, Inc., No. 10-cv-2666 JM, 2012 WL 153754, Docket Nos. 101, 109
                                22   (S.D. Cal. 2012) ($5.5 million settlement for approximately 1,170,584 potential
                                     class members, or $4.70 per person); Miller v. Hitachi Am., No. CIV 526430, 2014
                                23
                                     Cal. Super. LEXIS 1686 (San Mateo Oct. 17, 2014) (granting preliminary approval
                                24   of CIPA class action settlement with different settlement classes receiving $20 or
                                25
                                     $145 per class member); McCabe v. Six Continents Hotels, Inc., No. 12-cv-04818,
                                     2015 U.S. Dist. LEXIS 85084, *27-29 (N.D. Cal. June 30, 2015) (collecting cases
                                26   approving CIPA settlements of $1-$7.50 per class member); Mirkarimi v. Nev.
                                27
                                     Prop. 1, LLC, No. 12-CV-2160, 2015 U.S. Dist. LEXIS 112680, *10-11 (S.D. Cal.
                                     Aug. 24, 2015) (granting preliminary approval of CIPA settlement with estimated
                                28   pro rata award of $64.47).
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                                 1   2017, Plaintiffs, after investigating their claims, instituted this instant action. Dkt. 1.
                                 2   After the initial motion practice, this case moved forward, and the parties engaged
                                 3   into the discovery processes involving more than one set of written discovery. After
                                 4   the filing of this action, Transactel has also ceased audio recording outgoing calls.
                                 5   Agr. § 2.8. During discovery processes, Transactel identified the total number of
                                 6   unique cell phone numbers called that had a California area code, Dkt. No. 55-1,
                                 7   which allowed the parties to determine the approximate class size. Transactel also
                                 8   provided a confirmatory declaration post-mediation. Exhibit 1 to Ibey Decl., ¶ 28.
                                 9   Plaintiffs’ counsel are fully aware of the potential benefits and risks of this case, and
                                10   are confident that this Settlement is in the best interests of the Class.
                                11          After exchanging documents and the deposition of the three named Plaintiffs,
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                                     the Parties decided to attend an arm’s length negotiations in the form of a full-day
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                                13   mediation before Bruce Friedman. Id. at Recital E. Although the Parties agreed to a
                                14   resolution with the guidance of Bruce Friedman, Esq. of JAMS, the details of the
                                15   Agreement were discussed and ultimately finalized over a period of several months,
                                16   which included a confirmatory declaration from Transactel. Ibey Decl., ¶ 28. The
                                17   Parties are fully aware of the risks and benefits of continued litigation.
                                18                        vii.   The experience and views of Counsel
                                19          “Parties represented by competent counsel are better positioned than courts to
                                20   produce a settlement that fairly reflects each party’s expected outcome in litigation.”
                                21   In re Pac Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995).
                                22          Here, Class Counsel are qualified and highly experienced in litigating
                                23   complex consumer class actions. See Kazerounian Decl., ¶¶ 11-45; Swigart Decl. ¶¶
                                24   11-17; Ibey Decl, ¶¶ 15-26; Shay Decl., ¶¶ 11-15. Given Class Counsel’s extensive
                                25   experience in litigating similar type cases, the Class Counsel are well position to
                                26   assess the risks of continued litigation and benefits obtained by the settlement.
                                27          Similarly, Counsel for Defendants have extensive experience based on a long
                                28
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   track record in complex class actions. 5 Defendants’ attorneys have vigorously
                                 2   defended Defendants throughout this case and during mediation with Bruce
                                 3   Friedman, Esq. of JAMS. Defendants were able to obtain dismissal of the Plaintiffs’
                                 4   common-law invasion of privacy claims, Dkt. No. 27.
                                 5         Class Counsel have also actively researched and litigated this case for a full
                                 6   year (see Dkt. Nos. 1, 27, and 56), prior to reaching settlement. Counsel for each
                                 7   side are fully aware of the potential benefits of settlement and substantial risks of
                                 8   proceeding with litigation and have determined settlement to be the in the best
                                 9   interest of the Class. See Vasquez, 266 F.R.D. at 490 (“Here, class counsel
                                10   understood the complex risks and benefits of any settlement and concluded that the
                                11   proposed Settlement was a just, fair, and certain result. This factor weighs in favor
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                                     of approval.”)
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                                13
                                                        viii. The anticipated reaction of Class Members to the
                                14                            proposed Settlement
                                15         Class Counsel are confident that the Settlement Class Members will be
                                16   satisfied with the proposed Settlement. This benefit offered by the settlement is a
                                17   substantial portion of the maximum award possible, but without the risks and delay
                                18   of further litigation and trial. Settlement Class Members need only submit a claim
                                19   form online or by mail in order to receive the settlement payment. Agr. at § 4.3.
                                20   Further, any dissenting Settlement Class Member will be permitted to object to the
                                21   proposed settlement and be heard at the Final Approval Hearing before this Court.
                                22   Id. at §§ 8.2 & 9.1. Consequently, the Court will have an opportunity to judge the
                                23   class members’ reaction to the settlement before granting final approval.
                                24                      ix.    The proposed notice is appropriate
                                25
                                           Rule 23(c)(2)(B) provides that, in any case certified under Rule 23(b)(3), the
                                26
                                     court must direct to class members the “best notice practicable” under the
                                27
                                     5
                                            See     https://www.dlapiper.com/en/us/people/t/totino-edward-d/;         and
                                28
                                     https://www.stroock.com/people/SDudic.
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   circumstances. Rule 23(c)(2)(B) does not require “actual notice” or that a notice
                                 2   be “actually received.” Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994).
                                 3   Notice need only be given in a manner “reasonably calculated, under all the
                                 4   circumstances, to apprise interested parties of the pendency of the action and afford
                                 5   them an opportunity to present their objections.” Mullane v. Central Hanover
                                 6   Bank & Trust Co., 339 U.S. 306, 314 (1950). “Adequate notice is critical to court
                                 7   approval of a class settlement under Rule 23(e).” Hanlon, 150 F.3d at 1025.
                                 8         Pursuant to the Fed. R. Civ. P. 23(e)(1)(B), “[t]he court must direct notice in
                                 9   a reasonable manner to all class members who would be bound by the proposal.”
                                10   The notice must concisely and clearly state in plain, easily understood language: (i)
                                11   the nature of the action; (ii) the definition of the class; (iii) the class claims, issues,
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                                     or defenses; (iv) that class member may enter an appearance through counsel if the
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                                13   member so desires; (v) that the court will exclude from the class any member who
                                14   requests exclusion, stating when and how members may elect to be excluded; (vi)
                                15   the time and manner for requesting exclusion; and (vii) the binding effect of a class
                                16   judgment on class members under Rule 23(c)(3). Fed. R. Civ. P. 23(c)(2)(B).
                                17         Here, Notice will be provided directly through the mail (Peak Decl., at ¶ 14;
                                18   Agr. § 3), and by establishing a Settlement Website and toll-free number. Id. at §
                                19   12.2. For those Class Members whose mailing address Transactel has in its files,
                                20   these perspons will be notified through mail. Id. The notice plan provides the
                                21   Settlement Administrator will perform a reverse phone lookup in an effort to
                                22   obtain contact information and then mail them notice. Notice will also be posted on
                                23   the Settlement Website. Id. at § 3.1. The class notice will clearly state in plain and
                                24   easily understood language the requirements outlined above and required under
                                25   Rule 23(c)(3). See Exhibit B to Settlement Agreement.
                                26         Thus, under the circumstances and information available, Direct Notice will be
                                27   provided to all consumers for which mailing addresses are available. It is estimated
                                28   that the direct mail notice will reach at least 80% of the Settlement Class Members.
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   Peak Decl., at § 14. Thus, the notice plan fulfills the requirements of adequate
                                 2   notice for Due Process purposes and should be preliminarily approved.
                                 3                       x.     Class Representatives and Class Counsels should be
                                 4                              appointed as requested

                                 5         The adequacy of representation requirement is satisfied here, and there are no
                                 6   known conflicts of interest as noted above. For settlement purposes, Plaintiffs
                                 7   request that they be confirmed as the Class Representatives. See Agr. § 1(k).
                                 8   Similarly, Plaintiffs request that Abbas Kazerounian, Jason A. Ibey, Joshua B.
                                 9   Swigart, and Daniel G. Shay be appointed as Class Counsel. Id. at § 1(g).
                                10                       xi.    KCC should be appointed as Settlement Administrator
                                11         The Parties have agreed upon and propose that the Court appoint KCC to
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                                12   serve as the Settlement Administrator. Id. at § 1(x). KCC provides administrative
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                                13   services in class action litigation and has extensive experience in administering
                                14   consumer protection and privacy settlements. Peak Decl., ¶¶ 2-4.
                                15                       xii.   The Final Approval Hearing should be scheduled
                                16         Plaintiffs request a formal Fairness Hearing be scheduled no earlier than 175
                                17   days after the Court grants preliminary approval. Agr. § 8.2.
                                18   V.    CONCLUSION
                                19         In sum, Plaintiffs respectfully request that the Court enter an order 6 : i)
                                20   preliminarily approving the proposed Settlement, ii) providing for notice to the
                                21   Settlement class, iii) appointing KCC as the settlement administrator, iv) appointing
                                22   the three named Plaintiffs as Class Representatives, v) appointing Abbas
                                23   Kazerounian, Jason A. Ibey, Joshua B. Swigart and Daniel G. Shay as Class Counsel;
                                24   and vi) setting a fairness hearing.
                                25
                                26   6
                                       Pursuant to agreement of the Parties, Plaintiffs will submit an updated proposed
                                27   preliminary approval order that includes language that disclosure of consumer
                                28   information for purposes of this settlement does not violate 15 U.S.C. § 1681b.
                                     M EMO OF P’S & A’S IN SUPP . OF P LS.’ UNOPPOSED M OTION FOR P RELIMINARY APPROVAL
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                                 1   Dated: August 27, 2018                       Respectfully submitted,
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                                 4
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